Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 1 of 148. PageID #: 5937




                                                                         EXHIBIT 40
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 2 of 148. PageID #: 5938
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 3 of 148. PageID #: 5939
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 4 of 148. PageID #: 5940
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 5 of 148. PageID #: 5941
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 6 of 148. PageID #: 5942
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 7 of 148. PageID #: 5943
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 8 of 148. PageID #: 5944
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 9 of 148. PageID #: 5945
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 10 of 148. PageID #: 5946
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 11 of 148. PageID #: 5947
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 12 of 148. PageID #: 5948
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 13 of 148. PageID #: 5949
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 14 of 148. PageID #: 5950
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 15 of 148. PageID #: 5951
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 16 of 148. PageID #: 5952
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 17 of 148. PageID #: 5953
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 18 of 148. PageID #: 5954
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 19 of 148. PageID #: 5955
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 20 of 148. PageID #: 5956
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 21 of 148. PageID #: 5957
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 22 of 148. PageID #: 5958
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 23 of 148. PageID #: 5959
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 24 of 148. PageID #: 5960
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 25 of 148. PageID #: 5961
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 26 of 148. PageID #: 5962
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 27 of 148. PageID #: 5963
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 28 of 148. PageID #: 5964
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 29 of 148. PageID #: 5965
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 30 of 148. PageID #: 5966
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 31 of 148. PageID #: 5967
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 32 of 148. PageID #: 5968
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 33 of 148. PageID #: 5969
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 34 of 148. PageID #: 5970
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 35 of 148. PageID #: 5971
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 36 of 148. PageID #: 5972
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 37 of 148. PageID #: 5973
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 38 of 148. PageID #: 5974
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 39 of 148. PageID #: 5975
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 40 of 148. PageID #: 5976
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 41 of 148. PageID #: 5977
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 42 of 148. PageID #: 5978
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 43 of 148. PageID #: 5979
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 44 of 148. PageID #: 5980
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 45 of 148. PageID #: 5981
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 46 of 148. PageID #: 5982
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 47 of 148. PageID #: 5983
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 48 of 148. PageID #: 5984
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 49 of 148. PageID #: 5985
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 50 of 148. PageID #: 5986
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 51 of 148. PageID #: 5987
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 52 of 148. PageID #: 5988
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 53 of 148. PageID #: 5989
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 54 of 148. PageID #: 5990
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 55 of 148. PageID #: 5991
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 56 of 148. PageID #: 5992
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 57 of 148. PageID #: 5993
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 58 of 148. PageID #: 5994
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 59 of 148. PageID #: 5995
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 60 of 148. PageID #: 5996
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 61 of 148. PageID #: 5997
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 62 of 148. PageID #: 5998
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 63 of 148. PageID #: 5999
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 64 of 148. PageID #: 6000
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 65 of 148. PageID #: 6001
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 66 of 148. PageID #: 6002
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 67 of 148. PageID #: 6003
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 68 of 148. PageID #: 6004
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 69 of 148. PageID #: 6005
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 70 of 148. PageID #: 6006
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 71 of 148. PageID #: 6007
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 72 of 148. PageID #: 6008
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 73 of 148. PageID #: 6009
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 74 of 148. PageID #: 6010
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 75 of 148. PageID #: 6011
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 76 of 148. PageID #: 6012
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 77 of 148. PageID #: 6013
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 78 of 148. PageID #: 6014
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 79 of 148. PageID #: 6015
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 80 of 148. PageID #: 6016
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 81 of 148. PageID #: 6017
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 82 of 148. PageID #: 6018
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 83 of 148. PageID #: 6019
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 84 of 148. PageID #: 6020
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 85 of 148. PageID #: 6021
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 86 of 148. PageID #: 6022
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 87 of 148. PageID #: 6023
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 88 of 148. PageID #: 6024
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 89 of 148. PageID #: 6025
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 90 of 148. PageID #: 6026
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 91 of 148. PageID #: 6027
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 92 of 148. PageID #: 6028
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 93 of 148. PageID #: 6029
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 94 of 148. PageID #: 6030
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 95 of 148. PageID #: 6031
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 96 of 148. PageID #: 6032
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 97 of 148. PageID #: 6033
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 98 of 148. PageID #: 6034
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 99 of 148. PageID #: 6035
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 100 of 148. PageID #: 6036
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 101 of 148. PageID #: 6037
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 102 of 148. PageID #: 6038
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 103 of 148. PageID #: 6039
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 104 of 148. PageID #: 6040
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 105 of 148. PageID #: 6041
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 106 of 148. PageID #: 6042
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 107 of 148. PageID #: 6043
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 108 of 148. PageID #: 6044
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 109 of 148. PageID #: 6045
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 110 of 148. PageID #: 6046
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 111 of 148. PageID #: 6047
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 112 of 148. PageID #: 6048
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 113 of 148. PageID #: 6049
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 114 of 148. PageID #: 6050
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 115 of 148. PageID #: 6051
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 116 of 148. PageID #: 6052
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 117 of 148. PageID #: 6053
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 118 of 148. PageID #: 6054
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 119 of 148. PageID #: 6055
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 120 of 148. PageID #: 6056
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 121 of 148. PageID #: 6057
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 122 of 148. PageID #: 6058
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 123 of 148. PageID #: 6059
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 124 of 148. PageID #: 6060
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 125 of 148. PageID #: 6061
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 126 of 148. PageID #: 6062
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 127 of 148. PageID #: 6063
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 128 of 148. PageID #: 6064
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 129 of 148. PageID #: 6065
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 130 of 148. PageID #: 6066
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 131 of 148. PageID #: 6067
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 132 of 148. PageID #: 6068
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 133 of 148. PageID #: 6069
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 134 of 148. PageID #: 6070
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 135 of 148. PageID #: 6071
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 136 of 148. PageID #: 6072
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 137 of 148. PageID #: 6073
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 138 of 148. PageID #: 6074
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 139 of 148. PageID #: 6075
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 140 of 148. PageID #: 6076
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 141 of 148. PageID #: 6077
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 142 of 148. PageID #: 6078
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 143 of 148. PageID #: 6079
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 144 of 148. PageID #: 6080
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 145 of 148. PageID #: 6081
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 146 of 148. PageID #: 6082
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 147 of 148. PageID #: 6083
Case: 1:15-cv-01320-CAB Doc #: 82-47 Filed: 03/22/17 148 of 148. PageID #: 6084
